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JULIUS J. NAM (Cal Bar No. 288961) - AUSA
3403 Tenth Street, Suite 200
Riverside, CA 92501
Phone: 951-276-6942 / e-mail: julius.nam@usdoj.gov
Attorneys for Plaintiff, United States of America


                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                    CASE NUMBER:

                                                                              ED CR 15-93-JGB
                                             PLAINTIFF(S)
                             v.
DEFENDANT,                                                           NOTICE OF MANUAL FILING
                                                                           OR LODGING
                                           DEFENDANT(S).

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[Proposed] Order Sealing Documents; and
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          Per Court order dated:
          Other:




July 5, 2019                                                  JULIUS J. NAM
Date                                                          Attorney Name
                                                              UNITED STATES OF AMERICA
                                                              Party Represented


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G-92 (05/15)                             NOTICE OF MANUAL FILING OR LODGING
